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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


UTSTARCOM, INC.,                            )
                                            )
       Plaintiff,                           )
                                            )        Civil Action No. 07-CV-2582
v.                                          )        Hon. George W. Lindberg
                                            )        Magistrate Judge Nan R. Nolan
STARENT NETWORKS, CORP. et al.,             )
                                            )
       Defendants.                          )



      UTSTARCOM’S MEMORANDUM OF POINTS AND AUTHORITIES
            IN SUPPORT OF MOTION FOR RETURN ORDER


I.     INTRODUCTION

       By the motion that this Memorandum supports, UTStarcom seeks an order

directing defendant Starent to immediately return to UTStarcom the trade secret

documents specified in the motion.     The documents belong to UTStarcom. Starent

possesses them. The cases hold that Starent must return them.

       Discovery in this case has been arduous and extensive. Ultimately, buried within

the mass of documents Starent has produced, it has shown (by the very documents

Starent has revealed) that Starent possesses confidential and proprietary trade secret

documents that belong to UTStarcom.             Some, on their face, show theft from

UTStarcom’s predecessor, 3Com, and almost immediate transmission to Starent by a

departing 3Com employee just prior to joining Starent.

       This circumstance is starkly illustrated by documents produced by Starent as

Starent-III-1235127 – 1235131, copies of which are attached as Exhibit 2 to the
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Declaration of Christopher L. Rudd (which is being filed under seal concurrently with

this memorandum). They involve Starent and Defendant Brian Espy, who was leaving

3Com to join Starent in an important sales position. They show that on January 1, 2003,

the day before Defendant Espy resigned from 3Com, he forwarded from his 3Com e-mail

address (Brian Espy@3com.com) to his personal e-mail address (the espys@msn.com) a

confidential and proprietary 3Com document.1 Later that same day, Defendant Espy

transferred that document to a Starent senior executive, Pierre Kahhale (and to Todd

Kelly, who had joined Starent from 3Com several months earlier.) Defendant Espy

joined Starent’s employ on January 6, 2003 – just five days later.2

       Defendant Espy had a non-disclosure agreement with 3Com that prohibited him

from disclosing or using, after the term of his employment, any confidential or

proprietary information or know how belonging to 3Com.3 The stolen document is a

Highly Confidential 3Com Project Matrix relating to its customer BellSouth International

(and the Highly Confidential data in it).

       Through discovery in this case UTStarcom has also determined that Defendant

Todd Kelly copied over 3,000 3Com files from the computer he used while employed at

3Com by using a WinZip program.4 This copying was done by Defendant Kelly both

during his employment at 3Com and after resigning from 3Com. Like the stolen Espy

1
        As to the obviously significant information in the document transferred by
Defendant Espy, see the Declaration of Chandra Warrier, filed under seal concurrently
with this memorandum.
2
       Fourth Amended Complaint (“FAC”), ¶ 133, [Dkt 207].
3
       FAC, ¶ 135.
4
        This process is described more fully in the Expert Witness Report #1 of Charles
P. Pfleeger, which is being filed under seal concurrently with this memorandum.


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documents, the Kelly WinZip log on his 3Com computer shows that these copied and

zipped files include documents that have file names identical to documents found on

Defendant Kelly's hard drive that contain 3Com's highly confidential and proprietary

information. These 3Com documents containing highly confidential and proprietary

information found on Defendant Kelly's hard drive have been produced by Starent and

exist unaltered in Starent’s possession -- buried among the nearly two million pages of

documents produced in Starent's document production.5 Defendant Kelly had a non-

disclosure agreement with 3Com that prohibited him from disclosing or using any of the

proprietary technical information and business information of 3Com for his or another's

benefit after the term of his employment.6

       Consistent with the Court’s equitable powers and relevant legal precedent,

UTStarcom respectfully requests that an Order be entered directing Starent to (a) submit

an inventory of every document in its possession that contains a trade secret of

UTStarcom or any of its predecessors-in-interest to UTStarcom and to the Special

Master; and (b) immediately return those documents to UTStarcom.

II.    BRIEF STATEMENT OF RELEVANT FACTS

       ●       UTStarcom specializes in data communications products, including

networking products and wireless products. (FAC ¶ 157.) In May, 2003, UTStarcom

acquired substantially all of the assets of 3Com’s carrier business unit. (FAC ¶¶ 27, 28.)

       ●       UTStarcom alleges two trade secret claims in the FAC against Starent and

the Individual Defendants: (1) Count I, for misappropriation of trade secrets; and (2)

5
       See STARENT-III-0136597-0136622, attached as Exhibit D to the Declaration
of Christopher L. Rudd, filed under seal concurrently with this memorandum.
6
       FAC, ¶ 112.



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Count XX, for conspiracy to misappropriate trade secrets. (See, e.g., FAC ¶¶ 201, 211 -

230, 420, 421.)

          ●     Through the filing of the FAC, UTStarcom "demands that its business and

intellectual property rights be returned to it . . .." (FAC ¶ 26.)

          ●     In a history of motion practice that spans more than a year, Starent has

repeatedly claimed ignorance as to what trade secrets UTStarcom alleges have been

stolen.

          ●     In response to UTStarcom's request for "[a]ll documents or things in

Starent's possession, custody or control that were copied, downloaded, emailed or

otherwise taken from UTSI by any former employee of UTSI, including any of the

Individual Defendants," Starent claimed to be in possession of just two documents.

          ●     Those two documents contain 3Com trade secrets and also directly

evidence that they were stolen from 3Com by Defendant Brian Espy just prior to leaving

3Com's employ for work with Starent. See Warrier Decl., ¶¶ __, Exhs. A, B.

          ●     However, a review of the documents produced by Starent reveals that

Starent is in possession of dozens of documents that contain 3Com trade secrets that

belong to UTStarcom. These documents are identified in Starent's production as:

                Starent-III-1230227-1230240, Starent-III-0732691-
                0732700, Starent-III-0732691-0732700, Starent-III-
                0136597-0136622, Starent-III-0747525-0747544, Starent-
                III-1779362-1779381, Starent-III-0636505-0636529,
                Starent-III-0959441-0959459, Starent-III-0141288-




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               0141290, Starent-III-0626176-0626186, Starent-III-
               1235143-1235180, Starent-III-0626176-0626297,7
               Starent-III-0134690-0134695, Starent-III-1235142, Starent-
               III-1235127 – 1235131, Starent-III-1322331 – 1322347,
               Starent-III-1308070 – 1308085, and Starent-III-0136597-
               0136622.

See Warrier Decl., ¶¶ 21 - 21, Exhs. B - K; Rudd Decl., ¶¶ 2 – 7, Exhs. 1A – 6.

III.   THIS COURT MAY EXERCISE ITS EQUITABLE POWERS TO ORDER
       THAT STARENT RETURN TO UTSTARCOM ALL DOCUMENTS THAT
       CONTAIN TRADE SECRETS OF UTSTARCOM OR ITS
       PREDECESSOR.
       Courts do not hesitate to require an unauthorized recipient (or holder) of trade

secrets to return them to their owner. See, for example, this Court's opinion and order in

Cal City Optical, Inc. v. Pearle Vision, Inc., 1994 WL 114859 (N.D. Ill. 1994)(Lindberg,

J.). In that case, this Court ordered defendants to return a franchise manual and other

manuals "as well as materials containing trade secrets". In a similar case, the District

Court ordered the return of proprietary information (customer files, among other things)

taken by a former employee in violation of his agreement with his employer. IDS

Financial Services, Inc. v. Smithson, 843 F.Supp. 415 (N.D. Ill. 1994). While the cases

requiring return often arise in a preliminary injunction setting, the stage of a case or its

procedural posture is conceptually irrelevant to the matter of return to their owner.

       Indeed, it is a well-accepted proposition that a federal court, unless restricted by

statute, may exercise the full range of equitable powers in support of its jurisdiction and

in order to do complete justice in a particular case. "Moreover, the comprehensiveness of


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       Upon request by UTStarcom, Starent removed the confidentiality designations
from these documents. UTStarcom is producing these same documents back to Starent
with UTStarcom bates labels and designating them as "Highly Confidential."

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this equitable jurisdiction is not to be denied or limited in the absence of a clear and valid

legislative command. Unless a statute in so many words, or by a necessary and

inescapable inference, restricts the court's jurisdiction in equity, the full scope of that

jurisdiction is to be recognized and applied." Commodity Futures Trading Commission v.

Hunt, 591 F.2d 1211, 1223 (C.A.Ill., 1979).

       Where, as here, it has been proven that the defendant has misappropriated trade

secrets and continues to possess them, it is common for courts to order their return or

destruction. See, e.g., Picker Intern. Corp. v. Imaging Equipment Services, Inc., 931

F.Supp. 18, 45 (D. Mass.,1995); Picker International, Inc. v. Blanton, 756 F.Supp. 971,

983 (N.D.Tex.1990); Institutional Management Corp. v. Translation Systems, 456

F.Supp. 661, 671 (D.Md.1978); Curtiss-Wright Corp., 381 Mass. 1, 9, 407 N.E.2d 319,

325. UTStarcom has demanded in the FAC that these documents be returned, and such

an order is necessary and appropriate in this case with regard to UTStarcom's trade secret

materials currently in Starent's possession.

IV.    CONCLUSION

       Starent's own document production in this case reveals that it possesses

documents that, on their face, are trade secrets of UTStarcom's predecessor. Consistent

with the Court’s equitable powers and legal precedent, UTStarcom respectfully requests

that an Order be entered directing Starent to (a) submit an inventory of those trade secret

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documents to UTStarcom and to the Special Master; and (b) promptly return those

documents to UTStarcom.



Dated: February 12, 2009        Respectfully Submitted,



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                             CERTIFICATE OF SERVICE

       I, Thomas J. Speiss, III, an attorney of record in this matter, certify that on
February 12, 2009, I caused a copy of the foregoing document:

        PLAINTIFF UTSTARCOM’S MEMORANDUM OF POINTS AND
       AUTHORITIES IN SUPPORT OF MOTION FOR RETURN ORDER

to be filed by electronic filing (ECF), which provides service to the following counsel
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